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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re:                                                 Chapter ll

FMTB BH LLC,                                           Case No.18‑42228… cec

                                    Debtor.



FNIITB BH LLC,                                    Advo Proo No.18‑01052‐       cec

                                    Plaintl氏


               …against―


1988 MORRIS AVENUE LLC,1974 MORRIS
AVENUE LLC,700 BECK STREET LLC,1143
FOREST AVENUE LLC,and 1821 TOPPING
AVENUE LLC,
                                    Defendants。




                                POST… TRIAL    MEMORANDUⅣ I
                           OF DEBTORPLAINTIFF FⅣ ITB BⅡ LLC


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                                     PRELIMINARY STATEMENT

        Debtor-Plaintiff FMTB BH LLC respectfully submits this post-trial memorandum of law

as ordered by the Court at the close         of the trial. In accordance with the Court's directions, this

memorandum focuses on the breaches of the contracts                   of sale, and anticipatory        breaches    of

contract, committed by each defendant with respect to each of the five properties at issue in this

case. Those breaches and anticipatory repudiations of the contract as a matter of law excused

plaintiff s appearance and participation at the (sham) closing set by defendants for December                     18


2017.

        As stated by the Court in its Decision Denying (Defendants') Motion for Summary

Judgment, entered January 13,2020 (ECF No. 50), at page 6: "New York law is clear that the

Plaintiff was not required to tender performance under the Contracts and appear on a law day                       if
the Defendants breached, or anticipatorily breached, the Contracts." As the trial demonstrated,

each defendant breached the contracts         of sale in multiple respects: (1) failing to have violations of

record removed as of December 18, 2017 as required by the contracts, including violations issued

by the New York City Landmarks Preservation Commission which could not possibly be resolved

by the closing date; (2) failing to have the buildings vacant of tenants as required by the contracts

with respect to three of the properties: 770 Beck Street, 1821 Topping Avenue, and I 143 Forest

Avenue; (3) failing to allow plaintiff access to inspect each of the properties before the scheduled

closing, as required by the contracts of sale and each of the Addendums to the contracts of sale

(Exhibits 6-10, and Defendants' Exhibit QQ)t; (4) failing to satisfr title issues by December 18,

2017 with respect to each of the properties, so as to have title cleared and insured by Riverside



I       References to Exhibits are to the agreed-upon exhibits described in the Pre-Trial Order. Other trial exhibits
are denoted by  "Plaintiff Exhibit" or "Defendants Exhibit." References to the trial transcript are preceded by the
name of the trial witness. For example, "Mikhli Tr. 48" means the testimony of trial witness Izidor Mikhli appearing
atpage 48 of the trial transcript.
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Abstract, plaintiff s title company, which did not find that the transaction was ready to close; and

(5) with respect to 1988 Morris Avenue, failing to have the roof free of leaks at the time of closing

as required by the Seller's Rider to the Contract        of Sale. With     respect to this latter point,

defendants cannot be heard to exculpate themselves from this contractual provision by arguing

that the License Agreement (Exhibit 11) was entered into for the purpose of having plaintiff repair

and improve that property. There is no dispute that     plaintiff was locked out of those properties   as


of the end of November 2017, and never was granted access thereafter.

          In addition, to the foregoing breaches of the contracts of sale, evidence at the trial showed

that defendants concealed material information from plaintiff in connection with the Beck Street

property. Defendants had represented that there was     a   commercial daycare tenant that leased space

at the   building for an annual rental of $24,000, but defendants never disclosed to plaintiff that the

daycare tenant never moved into the premises and had repudiated the lease. While all residential

tenancies were to be vacant at the time of closing, this one and only commercial lease in all five

properties was important       to obtain financing for the purchase-precisely why plaintiff            in

November and December        20ll   repeatedly requested that defendants obtain a subordination, non-

disturbance,    md attornment agreement ("SNDA") from the commercial tenant to show the

prospective lender. The refusal to provide the SNDA denied plaintiff the ability to finance the

acquisition. See testimony of Abraham Weisel, Weisel Tr. 186-187 (plaintiff and its lender were

relying on the daycare lease concerning financing the acquisition); Riegler Tr. 117-119 (Riegler

received the Bronx Properties Offering Memorandum (Exhibit 58) and examined it before entering

into the contract of sale; plaintiff understood from it that the commercial lease space at Beck Street

was occupied by the tenant); Riegler Tr.144-145 (plaintiff assumed at the time of contracting that

the annual rent of S24,000 listed in the rent roll for the commercial space was correct). The



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prospective revenue from the daycare lease appeared on a rent roll that was provided in the offering

memorandum for the sale of the five properties prepared by defendants' broker, Dwane Jones,

based on information he received from "the entire team" of the sellers. Jones     Tr.298-315; Exhibit

58, PDF page     ll2l.   Plaintiff was informed that this Beck Street commercial lease was signed.

Jones   Tr.320. But plaintiff was never informed that the tenant never occupied the premises and

reneged on the lease.

         Although the contracts of sale contained no mortgage contingency, and plaintiff could have

funded the purchase prices itself through its investors like Joel Leifer and Joel Wertzberger, the

financing opportunity was eliminated by this defendants' material misrepresentation. Further, as

Mr. Riegler explained, this caused plaintiff to seriously question the bona fides of defendants and

their ability to deliver properties as represented, which questions were compounded by defendants'

unreasonable denial of access to   plaintiff to inspect the properties before closing.

                                                   I.

           THE CONTRACTUAL PROVISIONS BREACHED BY DEFENDANTS

         Each of the five contracts of sale and each of their riders to the contract of sale (Exhibits

l-5) are identical except for the purchase price and amount required for the downpayment. For

ease   of explanation, we use Exhibit l, the contract of sale between plaintiff and defendant 1988

Monis Avenue LLC as a reference point regarding the contractual provisions at issue.

         Paragraph 10 ofthe contract ofsale provides in relevant part:

         Governmental Violations and Orders. (a) Seller shall comply with all notes or
         notices of violations of law or municipal ordinances, orders or requirements noted
         or issued as of the date of closing by any governmental department having
         authority as to lands, housing, buildings, fire, health, environmental and labor
         conditions affecting the Premises. The Premises shall be conveyedfree of them at
         Closing. (Emphasis added.)




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           Irrespective of whether such violations are or are not a "title" issue in which the title

company would get involved, under the contracts of sale violations issued by govemmental

authorities were required to be cleared by the time of the closing. Mikhli Tr. 106. This includes

violations issued by the New York City Landmarks Preservation Commission. As Mr. Strong,

defendants' on-site manager and designee under the License Agreement, testified, any alterations

to a landmark-designated building require a filing with the Landmarks Preservation Commission.

To cure any violation, there must be an application filed with the Commission. Strong Tr. 110-

II   l.   Strong also stated that in the past it took at least a few weeks, and perhaps up to four

months, for defendants to cure violations issued by the Landmarks Preservation Commission.

The process could take even longer       if the Commission   has any objection to the application. Id.

at 112. These violations cannot possibly be cured at closing. See also Pearson testimony,

Pearson     Tr. 165 (landmark violations do not get cured in   a day or two),

           The law is very clear that other than the removal of an offensive sign and violations     of

such minor nature, the Rules of the Landmarks Preservation Commission mandate a process for

legalizing or removing violations that involves much more than just paying a fine. As set forth

in Title 63, Chapter I l, of the Rules, at section I 1-01:

                  (e) A violation is "legalized" when the Commission issues a permit
           approving and authorizing the work that was done without a permit.

                   (f)   A violation is "cured" where the Commission issues a permit
           authorizing modifications to the illegal condition to make it appropriate, or where
           the Commission authorizes work to replace the illegal work, and the modification
           or replacement work is completed, and the Commission has issued a Notice of
           Compliance.

           Paragraph 12 ofthe contract ofsale provides in relevant part:

           Condition of Property. Purchaser acknowledges and represents that Purchaser is
           fully aware of the physical condition and state of repair of the Premises and of all
           other property included in this sale, . . . and shall accept the same 'oas is" in their
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       present condition and state of repair, subject to reasonable use, wear, tear, and
       natural deterioration between the date hereof and the date of closing . . . .
       Purchaser and its authorized representotives shall have the right, at reasonable
       times and upon reasonable notice (by telephone or otherwise) to Seller, to inspect
       the Premises before Closing.

       Paragraph l3 ofthe contract ofsale provides:

       Insurable Title. Seller shall give and Purchaser shall accept such title as any
       reputable title insurance or abstract company of Purchaser's choosing
       licensed to do business in the state of New York shall be willing to approve and
       issue in accordance with its standard form of title policy approved by the New
       York State Insurance Department, subject only to the matters provided for in this
       contract. (Bold typeface in original).

       Paragraph l6 ofthe contract ofsale provides in relevant part:

       Conditions to Closing. This contract and the Purchaser's obligation to purchase
       the Premises are also subject to and conditioned upon the fulfillment of the
       following conditions precedent:

               (d) The delivery of the Premises and all building(s) and improvements
       comprising a part thereof in broom clean condition, vacant and free of leases or
       tenancies, together with keys to the Premises.

               (g) The delivery by the parties of any other affidavits required   as a
       condition of recording the deed.

       Each of the Seller's Rider to Contract attached to the contract of sale provides the

following provisions that, pursuant to paragraph I of the Rider, override any contradictory

provision contained in the contract of sale:

       Paragraph 5 of the Rider provides in relevant part:

       Purchaser acknowledges that he has inspected the Premises, and is fully familiar
       with the physical condition and state of repair thereof, and shall accept the
       Premises "AS IS" and in its present condition, subject to reasonable use, wear,
       tear and natural deterioration between now and the closing date, without any
       reduction in the purchase price for any change in such condition by reason thereof
       subsequent to the date of this contract, except that the appliances, plumbing,
       heating and electrical systems shall be in working order and roof should be free of
       leal<s at closing. (Emphasis added.)




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          Paragraph 2 of the Rider provides that the properties are deemed sold so long as title is

marketable. In connection with this provision, this Court noted previously on July 24,2018, in

denying defendants' motion to dismiss the complaint (ECF No. 18, page 36), that "paragraphT

of the rider provides that upon being informed of title objections, the Defendants were required

to remedy those issues by closing or were entitled to reasonable adjournment of the closing           if
needed. Ifthe sellers chose not to cure the defects, the sellers have the right to cancel the

contract and return the deposits. . . . And therefore it appears that paragraph 7 of the rider would

govern such that the sellers were obligated to cure title defects prior to the closing." (Emphasis

added).

          In addition to the contracts of sale and the riders thereto, each Defendant executed an

Addendum to Contract dated October 4,2017 (Exhibits 6-10 or and Defendants Exhibit QQ).

Among other things, each Addendum provided for a Time of the Essence closing date of

December 18,2017 and that the Purchaser would be granted access to the property.

          With respect to the 1988 Morris Avenue and the l974Morris Avenue properties, plaintiff

and those defendants entered into a License Agreement, dated as of October l'7,2017 (Exhibit

I I ), which, among other things, granted   plaintiff   a license to enter and have access to those

properties to make improvements thereon. Paragraph 2 of the License Agreement provides that

the term of the license ends at the completion of the closing on the properties on or before

December 18,2017. Paragraph 12 of the License Agreement designates Mr. Jackson Strong as

defendants' agent and requires plaintiff to notifu him "the moming when Work on the Properties

is to be conducted on a given day."




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                                                        II.
      EVIDENCE OF EACH DEFENDANT'S BREACH OF ITS CONTRACT OF SALE

A.        Failure To Remove Violations

          The evidence proved conclusively that violations of record existed on each property.

          770 Beck Street:   Exhibit   4l is the title report   for all properties, dated January 2,2018,

two weeks after the purported closing date of December 18,2017. As testified by Karla Miller,

Riverside Abstract's General Counsel, the report presents the same conditions (violations, etc.)

that existed as of December 18, 2017        . Miller Tr. 31.
          The Beck Street property had "many" violations of record issued by the New York City

Environmental Control Board. Ex. 41, PDF page251; Miller Tr. 30. PDF pages 313-314 of

Exhibit   4l   report four violations issued by the New York City Department of Buildings and the

Rent & Housing Maintenance Department of the City of New York. Miller                  Tr.32. With respect

to the last violation described on PDF page 314, the violation is clearly not a matter of paying a

fine that can be deducted from the purchase price at a closing. It reports the failure "to file a

valid registration statement" "as required by adm code $27-2097," and describes the onerous

legal effects flowing from non-registration. No valid building registration statements were

provided to the title company. Mikhli Tr.76.

          In addition, the title report includes one NYC Fire Department violation. Ex. 41, PDF

pages 341-342. Ex. 41, PDF page 397 , reports a sidewalk violation issued by the NYC Highway

Department. As Mr. Izidor Mikhli testified, sidewalk violations must be remedied and removed

from the City's records prior to closing. Mikhli Tr.7I-72. As Mr. Mikhli further testified, the

sidewalk violation is an "impediment" to closing that cannot be rectified at closing. Mikhli Tr.

81.




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        Finally,Ex.41,PDF pages 399‑402,report outstanding violations issued by the NYC

Department ofEnvirorllnental Protection.

        ffイ 3 fbrθ s′ Иッθ″夕θ.The title report discloses one ECB violation Ex.41,PDF page

251);14iller Tr.30,PDF pages 315‑322 describes 52宙 olations issued by the NYC Department

ofBuildings and the Rent&Housing Maintenance Department ofthe City ofNew York,Miller

Tr.32. Many ofthese violations requirc rcmedial work,such as removing locks,repairing

windows,instaning Outdoor lighting,repairing leaks,painting,repairing and replacing■ oor             tilcs,


and rcmoving a lead paint hazard.

        PDF pages 319‑322 and PDF pages 383… 388 ofExhibit 41 describe four violations issued

by thc NYC Landinarks Preservation Corrmission.Sθ         ιNIlikhli Tr.78;ヽ4iller Tr.33.As NIIr.

Mikhli testifled,such violations are an impedillnent to,and cannot be remedied,at closing。

ヽ〔
 ikhli Tr.81.


        f∂ 2f   bρ ρj′ gИ ツθ′夕θ.The title report,Exhibit 41,PDF page 251,lists         Inany"ECB

violations. In addition,the report contains two violations issued by the Rent dtt Housing

Maintenance Department ofthe City ofNew York.Ex.41,PDF pages 323‑324:the failure to

providc adequate outsidc lighting and the failure to flle a valid registration statement. On thcir


face,these violations are not curable at closingo As statcd above,no valid building registration

statement was provided to the title company.      likhli Tr。   76.
                                                 〜
        19∂ ∂ルわrris Иソθ′″θ. The title report lists one ECB violation,Exhibit 41,PDF page 251.

It also lists a sidewalk violation,PDF pages 260 and 398,which,as rnentioned above,cannot be

cured by mere payment and could not be cured at closing.

       f9ア イル化)rrお Иソθ″νθ.The title report lists̀̀many"ECB violations,Exhibit 41,PDF page

251,and a sidewalk violation,PDF pagcs 260 and 397.



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           The title report discloses three violations issued by the Landmarks Preservation

Commission, PDF pages 333-336, which, according to the testimony cited above, could not

possibly be cured at closing.

          In addition, five violations were issued by the Rent and Housing Maintenance

Department of the City of New York, including those requiring work. PDF page 332.

          In sum, each of the five properties had violations imposed against it, including violations

that could not be cured immediately at a closing. The attomey for defendants never broached the

topic of the removal of violations. Mikhli Tr. 107. The failure to remove the violations before

closing violated paragraph 10 of the contracts of sale.

B.        Failure To Have Buildings Vacant Of Tenants

          The undisputed trial testimony was that all properties, except for 1974 Morris Avenue

and 1988 Morris Avenue, were not vacant of tenants as of December 18, 2017, in breach         of

paragraph l6 of the contracts of sale. Saleem Tr.216; Telahun Tr.237-240; Riegler Tr. 149;

Weisel Tr. 179; Strong Tr. I l0 (as of mid-December 2017, the residential tenants were still in

occupancy at the Beck Street, Forest Avenue, and Topping Avenue buildings). Nor was there

even a plan by defendants as of December 18, 2017 to have those tenants vacate the premises.

Id,

C.        Failure To Grant Access Before Closing

          As the Court pointed out in its decision denying defendants' motion for summary

judgment, access afforded by the contracts of sale and the Addenda was important for several

reasons. Decision at    7. Although there was no mortgage contingency      clause in the contracts   of
sale,   plaintiff desired to obtain financing for the acquisition, which could not be obtained without

allowing the lender access to the properties. In addition, as with every purchaser, the purchaser



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has the right to know the condition of the properties at the time of closingbefore parting         with the

multi-millions of dollars in payment of the purchase price. As Mr. Mikhli testified, the right of

access to inspect the property, such as afforded by paragraph 12         ofeach contract ofsale, includes

access and inspection before closing; this is      typically the case especially when,   as here, there is a


substantial amount of time between the date the contract of sale was entered into and the closing

date. Mikhli Tr. 104-106. The contracts allow for ordinary wear and tear since the time of

contracting, but not more. At closing, the "appliances, plumbing, heating and electrical systems

shall be in working order and roof should be free of leaks at closing." Seller's Rider to Contract,

Exhibits 1-5. Plaintiff had the absolute right to check out these conditions and not trust the word

of defendants that since the date the contracts were entered into seven months before the closing

date of December 78,2017, nothing material had occurred at each of the buildings.

       A reason for entering into the Addenda to the contracts of sale was to provide plaintiff

with access to each of the buildings. Mikhli Tr.36-39. See Exhibit 6, PDF page 74; Exhibit 7,

PDF page 77; Exhibit 8, PDF page 80; Exhibit 9, PDF page 83; Exhibit 10, PDF page 86. (The

signed Addenda arc at Defendants' Exhibit         QQ.) This contractual right is in addition to the right

to access and inspection provided by paragraph 12 of each contract of sale (telephonic notice

being sufficient). Mikhli   Tr.52.   See, e.g.,   Exhibit 1, paragraph   12.


       The License Agreement with respect to the 1988 Monis Avenue and 1974 Morris

Avenue properties (Exhibit 11) granted plaintiff additional access rights with respect to these two

properties, up until closing on December 18, 2017. Mikhli Tr.40-41.

       The need for access to inspect the properties became more crucial when defendants

refused to deliver the SNDA for the commercial daycare lease at Beck Street.          Mikhli Tr. 88-89;

Riegler Tr. 120; Strong Tr. I 14- 1 1 5 (Dwane Jones told Strong not to communicate any longer



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directly with plaintiff); MikhliTr. 46-49 (requested several times that the SNDA be provided,

but never received it); Riegler Tr. 148 (requested estoppel letter multiple times but did not

receive it); Telahun Tr.234-235 (Telahun was aware that plaintiff had asked for the SNDA, and

did not tell plaintiff that it would not be provided). Of course, we now know that defendants

could not deliver the SNDA because the tenant never occupied the space, Strong Tr.        90-91-a

fact concealed from plaintiff, Strong Tr. 96 (defendants knew prior to November 2017 thatthe

daycare tenant would not be moving in); Riegler     Tr. I 19 (defendants never told plaintiff that the

commercial tenant had not moved into the space); Jones Tr. 320-321, 323-324 (Jones did not

communicate to plaintiff that although the Beck Street commercial lease was signed, the tenant

never moved in); Saleem     Tr.225 (he did not tell plaintiff that the commercial tenant would not

be moving into the premises); Telahun Tr. 233 (same); Weisel      Tr. 186-187 (the   lease turned out

not to be valid; the space was never occupied); Weisel Tr. 194 (Weisel questions Hsu if the Beck

Street lease is bona fide); Weisel   Tr. 199-200 (by email dated December 12,2017, Exhibit 73,

PDF page 1291, Weisel inquires as to the status of the "seemingly fraudulent lease." He was not

told that the tenant never took possession of those premises). As Ms. Fafowora, an owner of the

daycare tenant testified, she realized "at most" within three months from the time she executed

the lease (in May 2017) that the tenancy would not work and the tenant would not be moving in.

She told this to defendants' agent,    Strong. Fafowora Tr.293. But defendants never disclosed

that to   plaintiff. Telahun Tr.248.

          In sum, as of December 18, 2017, plaintiff s questions concerning the legitimacy of the

Beck Street commercial lease were not assuaged. Riegler Tr. 148. Plaintiff thus had very real

concems about the condition of the properties and, even without such concems, had the

unfettered contractual right to access and inspection.
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          As we show below, the evidence is clear that such access was denied with respect to each

of the five properties.

          Access was denied regarding the two Morris Avenue properties.        Mikhli Tr.52-53.

Plaintiff was locked out of the properties when defendants changed the locks as of late

November 2017, Riegler Tr. 136; Strong Tr. 107-108. Defendants did so although the License

Agreement, by itself, afforded plaintiff access to those properties. After that lockout, plaintiff

was never able to obtain access to these properties again. Access was denied "multiple times."

Riegler   Tr.l37.

          Plaintiff was also denied access before closing "multiple times" with respect to the other

three properties: Beck Street, Forest Avenue, and Topping Avenue. Riegler          Tr. 138, 149. For

example, access was requested on December 9,2017 regarding these three properties. There was

no response. Riegler      Tr. 139-141. Plaintiff never obtained   access to these three properties   just

as   it never obtained access to the two Morris Avenue properties. Riegler Tr. 143. Plaintiff even

tried to buy access, offering compensation, to no avail. Riegler Tr.l47-148.

          Mr. Saleem, one of the principals of defendants, testified that he was aware that in late

November and early December 2017 plaintiff was seeking access to the properties. Saleem Tr.

218. Mr. Telahun, the other principal, stated that the first time access was requested was

December 10,2017. Telahun Tr.249. Not only is this testimony contradicted by his co-owrer

Saleem, but in addition,    it is not credible in light of the documentary evidence. Moreover,

defendants' agent, Jackson Strong, testified that the instruction to lock out plaintiff from the

Morris Avenue properties came from Mr. Telahun, or Mr. Saleem, or defendants' attorney.

Strong Tr. 99-100. Defendants' broker, Mr. Dwane Jones, also testified that plaintiff had

requested access in late November 2017. Jones       Tr.328-329. He remembers plaintiff being



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locked out and that the decision to do so came from defendants, who notified Jones about it.

Jones    Tr.332-334.

          In any event, even the denial of access on December l0 or December I I in the face of a

closing on December 18 is a breach of the contract of sale and Addendum.

          The denial of access to plaintiff was detailed in the testimony of Mr. Abraham Weisel,

one of   plaintiff   s   transactional attorneys, and in his email correspondence with Mr. Brian Hsu,

defendants' attorney. See, e.g., Exhibit 28, PDF pages 173-174 Exhibit 31, PDF page 183. As

Mr. Weisel testified, the issue of access for plaintiff came up numerous times and plaintiff was

rebuffed each time. Plaintiff was unreasonably denied access. Weisel Tr. 179-180. Weisel

found it very strange that someone who was supposedly insisting on closing on the TOE date

would deny something as simple as access to the purchaser-if defendants truly wanted to close.

Weisel Tr. 187-188, 190-191.

          The flat denial by Mr. Hsu on December 11, 2018, a week before the TOE date, says it

all: " l am not authorized at this time     to   provide that access. We need to see real movement from

your side to get to a closing date.      " Exhibit 30, PDF page 181 (emphasis added); Weisel Tr. l9l      .



Which provision in the contracts of sale gave defendants this right to shut out plaintiff?
                                                                                              -None.
Mr. Hsu's other excuse for denying access-the supposed need for "reasonable prior written

notice," Exhibit 32, PDF page 135(emphasis added)-is unacceptable. The contracts of sale do

not require written notice. Indeed, defendants' broker, Mr. Dwane Jones, testified that the

request for access made by telephone was standard. Jones Tr. 331.

         Access was also requested a number of times by telephone during the period between

December 12,2017 and December 18, 2017, after Mr. Hsu's flat rejection on December I            l.




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Plaintiff was denied access each time, either directly or by having Mr. Weisel's telephone

messages left unanswered. Weisel Tr. 223-226.

         Mr. Weisel, an experienced transactional real estate attomey, had never before

experienced someone "as persistently and definitively refuse access." Mr. Weisel commented:

"It still strikes me as odd, this constant refusal to provide   access . . .   ."   Weisel Tr.225. It can

only be concluded from defendants' the unreasonable refusal to provide access to plaintiff to

inspect the five properties that all of this was part of a scheme by defendants to set up a sham

closing and keep the close to   I million dollars in downpayments when plaintiff did not attend             the

so-called closing.

D.       Failure To Clear Title

         Each of the five properties had title issues, which served as impediments to closing on

December 18,2017, even putting aside the many violations of record that existed at the time in

violation of defendants' contractual obligation to remove them. Riegler Tr. 150 (as of December

18,2017, defendants had not satisfied all title issues and all conditions for closing). As stated

above, pursuant to paragraph 7 of each of the Seller's Rider to Contract, these title violations had

to be cured prior to closing. They were not. Moreover, as set forth below, many violations could

not simply be taken care of by seller showing up at closing and deciding then and there to

remedy the title violations.

         Since at least November 14,2017,    plaintiff had alerted defendants to the multiple specific

title issues affecting the Beck Street, Forest Avenue, and Topping Avenue properties. Exhibit

19;   Mikhli Tr.5l-52.

         In addition, as Mr. Mikhli testified, defendants received title objections more than l0

days before the closing; a title report with objections had been delivered to defendants.          Mikhli


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Tr.64-65,67, 88. There was no testimony from anyone representing defendants that disputed

this. The title exceptions and issues had to be cleared before closing, but were not. Mikhli Tr.

55-56. These objections pertained to each of the five properties. As Riverside Abstract's

General Counsel testified, the transactions were not ready for closing in September 2017, or in

December 2017. Miller Tr.      ll-12.   There existed open issues such as tax liens, Miller Tr.24-26,

and no-consideration deeds in the property records which were not remedied.          Miller Tr. l4-15,

18. (See   below.) As Mr. Weisel testified, all title issues had not been resolved   as of December

18,2017; defendants were never ready to close from a title perspective. Weisel Tr. 183-184.

       The title report of January 2,2018 (Exhibit 4l), which includes the same title violations

as existing as of December I 8, 2017    (Miller Tr. 3 I ), contains the many title violations regarding

the five properties, none of which was removed prior to December 18,2017, and many of which

could not be removed on December 18, 2017:

        770 Beck   Street.      The property records disclosed a "no-consideration" deed, which

required Riverside Abstract to review, "prior to closing," an affidavit from the attorney who

supervised the e execution and delivery of the deed and/or a grantor's     affidavit. (PDF 257).   lt
other than the party's current attorney had to issue the affidavit, this would have to be provided

before closing (inespective of the contracts riders' requirement at paragraphT that all title issues

had to be cleared before closing). This documentation was never provided.         Mikhli Tr.69-70.

       The sidewalk violation on this property, which we mention above in the section of this

memorandum regarding the failure to remove violations, is also listed as an exception to title that

had to be cured before closing but was     not. PDF 257; MikhliTr.Tl-72.

       The property records also revealed the existence of a mortgage, which required that the

title company receive the original note and bond marked'opaid," the original mortgage marked



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"paid," and an original satisfaction of mortgage in recordable form. The records also revealed

the existence of a credit line mortgage. That required proof to be provided to the title company

that the credit line had been frozen, a payoff letter from the lender stating that the account has

been frozen, and an affidavit from the mortgagor containing information aborit the mortgage.

(PDF 258).      All of this was not done. Payoff letters were required to be provided before closing.

Mikhli Tr.76-77.

         I143 Forest Avenue. The property record disclosed a no-consideration deed, which

required Riverside Abstract to review, "prior to closing," an affidavit from the attomey who

supervised the execution and delivery of the deed and/or a grantor's      affidavit. (PDF 258).   If
other than the party's current attomey had to issue the affidavit, this would have to be provided

before closing. This was never provided. Mikhli         Tr.77. The records for this property also

disclosed a mortgage that required the same documentation as with the 770 Beck Street

mortgage. (PDF 258).

         l82l   Topping Avenue. The property records revealed a private mortgage, that required

the same documentation as with the 770Beck Street and 1143 Forest Avenue mortgages. (PDF

2s8).

         1974 Morris Avenue. Records showed that a tax lien was on record that had no evidence

of having been discharged. (PDF 259). ln fact, after December 18,2017, it took defendants 23

more days, until January 10,2018, to resolve this title issue by finally providing an undertaking

to Riverside Abstract in a form satisfactory to the title company. Exhibit 43, PDF pages 530-

535.




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        There also was a no-consideration deed that required the same documentation as with the

no-consideration deed for the 770 Beck Street property. There also was a notice of pendency

filed against the properff   as   to which the title report stated: "clearance required." (PDF 260).

        In addition, the sidewalk violation mentioned above regarding the failure to remove

violations was also listed in the title report as an exception to insurance and thus a title violation

that had to be cleared before closing. (PDF 260).

        j,988 Moruis   Avenue. The sidewalk violation on this property mentioned above regarding

the failure to remove violations is also listed in the title report as an exception to insurance and

thus a title violation that had to be cleared before closing. (PDF 260). The property records also

revealed the existence of a mortgage, which required the same documentation as with the other

properties' mortgages. (PDF 260).

 E.     1988   Morris Avenue Was Certainly Not Free Of Roof Leaks

       The Seller's Rider to each contract of sale provides that each of the five buildings had to

be free of leaks from the roof at the time of closing. Defendants' own witnesses testified that

this was not the case regarding 1988 Morris Avenue. Strong Tr. 103 (in September 2017, water

was coming through the roof at 1988 Monis Avenue); Saleem Tr.259-263 (testimony on

defendants' case: "Leaks were always present" at 1988 Morris Avenue).

       Nor can defendants argue that this should have been corrected by plaintiff in connection

with the License Agreement. Defendants locked out plaintiff as of the end of November and

never allowed access to plaintiff thereafter.




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                                   PLAINTIFF'S EXHIBIT LIST

        As directed by the Court, attached to this memorandum is a list of the trial exhibits relied

on by plaintiff, with reference to the trial witness at which the exhibit was discussed and the page

of the trial transcript where the testimony appears.


                                            CONCLUSION

        For all of the foregoing reasons, judgment should be awarded in favor of plaintiff,

ordering defendants to specifically perform each ofthe five contracts ofsale and to convey each

of the five properties to plaintiff (x) for the price set forth in the contracts of sale, less (y) the

total amount of downpayments received to date by defendants, plus (a) prejudgment interest

thereon at the New York statutory rute of 9Yo per annum (CPLR 5004) and (b) the costs and

disbursements of this action. In addition,    plaintiff respectfully requests that the Court grant such

other and further relief as the Court deems just and proper.


Dated: New York, New York
       June 30,2020

                                                     STAHL &ZELMANOVITZ
                                                     Special Counsel For
                                                     Plainriff / Debtor FMTB BH LLC

                                                     By    /s/ Joseph Zelmanovitz
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                                  ―――TRIAL EXHIBITS― ―
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                                      Re‖ ed on by Plaintiff

Designation   Exhibit
A― PL         Exhibit l
A― PL         Exhibit 2           KEY
A― PL         Exhibit 3          A‐   PL=Agreed
A― PL         Exhibit 4           PL‐ Plaintiff Exhibit
A― PL         Exhibit 5           D―    Defendants Exhibit
A‐ PL         Exhibit 6
A―   PL       Exhibit 7
A―   PL       Exhibit 8
A― PL         Exhibit 10
A― PL         Exhibit ll
A―   PL       Exhibit 12
A― PL         Exhibit 14
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              Exhibit 95
D             Exhibit QQ
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